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           United States Court of Appeals
                for the Fifth Circuit                                   United States Court of Appeals

                                 ___________
                                                                                 Fifth Circuit

                                                                               FILED
                                                                           July 24, 2024
                                  No. 22-60008
                                 ___________                              Lyle W. Cayce
                                                                               Clerk
Consumers’ Research; Cause Based Commerce,
Incorporated; Kersten Conway; Suzanne Bettac;
Robert Kull; Kwang Ja Kerby; Tom Kirby; Joseph Bayly;
Jeremy Roth; Deanna Roth; Lynn Gibbs; Paul Gibbs;
Rhonda Thomas,

                                                                          Petitioners,

                                       versus

Federal Communications Commission; United States of
America,

                                                                       Respondents.
                 ______________________________

                       Petition for Review from the
                   Federal Communications Commission
                            Agency No. 96-45
                 ______________________________

Before Richman, Chief Judge, and Jones, Smith, Stewart,
Elrod, Southwick, Haynes, Graves, Higginson, Willett,
Ho, Duncan, Engelhardt, Oldham, Wilson, and
Douglas, Circuit Judges.*

      JUDGMENT ON PETITION REHEARING EN BANC

       *
          Judge Ramirez joined the court after this case was submitted and did not
participate in the decision.
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                                   No. 22-60008




       This cause was considered on the petition of Consumers’ Research,
Cause Based Commerce, Incorporated, Kersten Conway, Suzanne Bettac,
Robert Kull, Kwang Ja Kerby, Tom Kirby, Joseph Bayly, Jeremy Roth,
Deanna Roth, Lynn Gibbs, Paul Gibbs, and Rhonda Thomas, for review of an
order of the Federal Communications Commission and was argued by
counsel.
       IT IS ORDERED and ADJUDGED that the petition for review is
GRANTED and we REMAND to FCC for further proceedings.
       IT IS FURTHER ORDERED that Respondents pay to
Petitioners the costs on appeal to be taxed by the Clerk of this Court.
       The judgment or mandate of this court shall issue 7 days after the time
to file a petition for rehearing expires, or 7 days after entry of an order denying
a timely petition for panel rehearing, petition for rehearing en banc, or motion
for stay of mandate, whichever is later. See Fed. R. App. P. 41(b). The court
may shorten or extend the time by order. See 5th Cir. R. 41 I.O.P.
       Jennifer Walker Elrod, Circuit Judge, joined by Ho and
Engelhardt, Circuit Judges, concurring.
       James C. Ho, Circuit Judge, concurring.
       Carl E. Stewart, Circuit Judge, joined by Richman, Chief
Judge, and Southwick, Haynes, Graves, Higginson, and
Douglas, Circuit Judges, dissenting.
       Stephen A. Higginson, Circuit Judge, joined by Stewart,
Southwick, Graves, and Douglas, Circuit Judges, dissenting.




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